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July 11, 2025                                                                                            Tel: 202 303 1000
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VIA ECF

The Honorable Lewis J. Liman
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

Re:     Lively v. Wayfarer Studios LLC et al., No. 24-cv-10049 (LJL)

Dear Judge Liman:

         Plaintiff Blake Lively respectfully moves the Court to enter a protective order directing
Defendants to (1) conduct Ms. Lively’s deposition—currently scheduled for next Thursday, July 17—
at                                                          and (2) disclose the identities of all individuals
who will appear. Ms. Lively regrets the need to burden the Court with this request and does so only after
Defendants have refused Ms. Lively’s reasonable requests and instead insisted that Ms. Lively’s
deposition take place at                                                      . Defendants have not denied
that their intent is to manufacture a harassing publicity stunt by requiring Ms. Lively to parade through
paparazzi, or by inviting unknown attendees to the deposition, including members of the media or social
media influencers, or any other number of abusive tactics. Despite Ms. Lively’s repeated efforts to
confer, Defendants have refused to address these concerns and have responded only with their insistence
that they alone control all logistics and security issues. Defendants’ failure to acknowledge the real
security and privacy risks ignores that they have engaged in retaliatory harassment that has extended into
the litigation itself, including by defense counsel’s repeated and personal attempts to turn Ms. Lively’s
deposition into a media event. Good cause exists to provide Ms. Lively with these basic protections. See
FRCP 26(c)(1) (“The court may, for good cause, issue an order to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense . . .”); Sec. and Exch. Comm’n v.
Aly, 320 F.R.D. 116, 118 (S.D.N.Y. 2017) (“Factors guiding the Court’s discretion include the cost,
convenience, and litigation efficiency of the designated location.”). Ms. Lively respectfully requests that
the Court order Defendants to respond to this motion on an accelerated timeline.

        Since virtually the inception of this litigation, Defendants have used even the prospect of
Ms. Lively’s deposition to generate press interest. Defense counsel publicly demanded “the earliest
possible deposition” of Ms. Lively in advance of the first court hearing on January 30, 2025, ECF No. 48,
resulting in a predictable wave of sensationalized press coverage. On May 8, 2025, Mr. Freedman made
unprofessional comments to People Magazine about Ms. Lively’s deposition, preposterously declaring
that he wanted to hold it “at MSG [Madison Square Garden], sell tickets or stream it” and that if
Ms. Lively is “willing to sit for a deposition, I am available. How does tomorrow morning work for
her?’”1 Just days after Defendants noticed Ms. Lively’s deposition, Mr. Freedman sat for a lengthy

1
 Elizabeth Rosner, Justin Baldoni’s Lawyer Wants to Sell Tickets to Blake Lively’s Deposition for This Reason, PEOPLE (May
8, 2025 5:06 PM), https://people.com/justin-baldoni-lawyer-wants-sell-tickets-blake-lively-deposition-exclusive-11731182.



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interview with TMZ, in which he announced: "I've noticed her deposition. It's set in June. We 're gonna
see if she's gonna appear at that deposition or not."2

        During a confen al on June 13, 2025, defense counsel insisted that Ms. Lively's deposition must
be the first deposition taken. Deel. at 3. 3 Ms. Lively agreed, and offered July 17, 2025, which Defendants
accepted. Deel. at 4. On July 7, 2025, Ms. Lively's counsel emailed to confirm the plan for the upcoming
deposition, consistent with the practice adopted by the paiiies for other depositions scheduled to date:

        "For security reasons, Ms. Lively's deposition will be held
                                                                                       . Sepai·ate and
        private breakout spaces will be provided for attending pa1i ies and counsel, as well as lunch
        and refreshments. We ai·e also happy to coordinate logistics and                     with the
        comi repo1ier and videographer if you would like. For security reasons, we will require a
        list of all persons who wish to attend the deposition by no later than Friday, July 11."

Ex. A at 8. Opposing counsel responded by insisting (without any aiiiculated reason) that the deposition
"take place at                                                        [.]"Id. at 7. Ms. Lively's counsel
immediately responded that they had made security preparations to hold the deposition at
            , an approach that "aligns with

respond. Lively's counsel sent another email the morning of July 10, 2025, asking for confnmation
"whether you agree to conduct the deposition at                                 and to identify all
attendees in advance (no later than tomon ow)" (i.e. July 11). Id. at 5. That evening, counsel for
Ms. Lively emailed again, stating:

        "You have not agreed to our reasonable request to hold the deposition at
        nor to advise us in advance who will be present at the deposition. You have provided no
        reason for refusing these basic comiesies, so we can only assume that it is because you
        intend to make a media show of Ms. Lively's deposition in some way, both inside and
        outside of the deposition room."

Id. at 1. Opposing counsel responded viiiually immediately, writing that "we expect to see ms lively
[sic] at 9 am on July 17 atllll for her deposition." Id.

       Defendants have not attempted to demonstrate that "cost, convenience" or "litigation efficiency"
waiTants holding the deposition at llll rather than at -    . Buzzeo v. Bd. ofEduc., Hempstead, 178

2     https://www.tmz.com/202 5/06/ 10/justin-baldoni-la:wyer-bryan-freedman-rips-blake-lively-false-victo1y-tour/.         Mr.
Freedman made similar statements to other outlets as pa1t of the same media blitz. See, e.g., https://people.com/justin-baldoni-
lav.ryer-breaks-silence-blake-lively-false-victo1y-lawsuit-dismissed- l l 751161; https://pagesix.com/2025/06/ 10/celebrity-
news/how-justin-baldoni-feels-after-400m-countersuit-against-blake-lively-1yan-reynolds-dis1nissed/;
https://www.eonline.com/news/ 1418544/justin-baldoni-blake-lively-lawsuit-lav.ryer-slams-victory-claim;
https://variety. com/202 5/film/news/justin-baldoni-reacts-blake-lively-defamation-lawsuit-thrown-out- 12 36424645/;
https://abcnews. go.com/US/j ustin-baldonis-lawsuit-blake-lively-disrnissed-federal-judge/story?id= 122660022.
3 "Deel." shall refer to the Declaration of Kristin E. Bender, filed contemporaneously herewith. Citations to "Ex." refer to

exhibits attached to Ms. Bender' s Declaration.



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F.R.D. 390, 392 (E.D.N.Y. 1998). Nor can they.
                 , so Defendants cannot claim any "greater expenses." Id. Nor can Defendants in good
faith claim any need to hold the deposition at llll given Mr. Freedman 's willingness to conduct it at
Madison Square Garden. Holding the deposition at -                will save Defendants resources because
Ms. Lively's counsel has ah-eady engaged with professionals to ensure safe and professional conditions,
including by
                                . Defense counsel's insistence that he can take Ms. Lively's deposition
anytime, and anywhere, belies any claim now that holding the deposition at                             1111
                                                                                             is essential to
convenience or efficiency. Likewise, no cost, inconvenience, or inefficiency is generated by requiring
the disclosure of the identity of attendees. To the contraiy, it is essential to know in advance who plans
to attend not just for building security purposes, but also given that any testimony will be presumptively
sealed under the protective order, and ultimately may be designated as Confidential or AEO. 4

        Defendants' insistence on holding the deposition atllll and withholding the names of attendees
subjects Ms. Lively to unknown security and privacy risks. The high-profile nature of this litigation, and
the nature of Ms. Lively's retaliation claims, demonstrates a substantial risk of the deposition turning
into a publicity event, or potentially attrncting interested individuals who could pose security risks.
Mitigating against these risks requires extensive (and expensive) professional assessment, planning, and
staffing. Defendants do not appeai· to have considered such security concerns, instead baldly asserting
that                                which is difficult to square with Mr. Freedman's public comments
about this deposition, or allegations that have been recently made about Mr. Freedman 's unprofessional
conduct (in a sworn affidavit filed by an attorney in a case before the Los Angeles Superior Comi),
ECF No. 402- 2, a case in which Mr. Freedman refosed to allow his client to be deposed at opposing
counsel's law firm based on the "inadequacies of Plaintiff counsel's office to 'protect Defendant's
personal safety and privacy."' Id. at 7. In light of the above, this Court should grant Ms. Lively's
reasonable request to prevent the risk of annoyance, harassment, and verbal or physical threats.
Tangtiwatanapaibul v. Tom & Toon Inc., 1:17-cv-00816 (LGS) (KHP), 2017 WL 10456190, at *2
(S.D.N.Y. Nov. 22, 2017) (comis "given broad discretion to manage discove1y and determine where
depositions shall take place"); Aly, 320 F.R.D. at 118 ("The safety of the proposed venue may also be
considered."); accord United States v. $160,066.98 from Bank ofAm., 202 F.R.D. 624, 628 (S.D. Cal.
2001).

        Defendants have not refuted that manufacturing a public spectacle is their motivating factor in
refosing Ms. Lively's requests for the
                                                                 . Unable to host Ms. Lively's deposition
at Madison Square Gai·den or to "sell tickets or stream" it, Defendants appear to seek another public
relations moment, or to create conditions for intimidation or hai·assment. Ms. Lively respectfully asks
the Comi to enter a naiTow protective order to minimize security and privacy risks, and to preclude
Defendants from using these proceedings to "promote public scandal." ECF 220 at 3; accord Brown v.
Maxwell, 929 F.3d 41, 51 (2d Cir. 2019) (comts responsible for ensuring judicial process is not "coopted"
to "gratify private spite or promote public scandal"); Stern, 529 F. Supp. 2d at 422- 23 (depositions "are
not intended to provide a vehicle for generating content for broadcast and other media") (quotations
omitted).

4
    There is no public right of access to deposition transcripts. S tern v. Cosby, 529 F. Supp. 2d 417, 421 (S .D.N.Y. 2007).



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    Respectfully submitted,

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4
